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In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS

*************************
JOSEPH MONTELEONE,         *
                           *
                           *                                  No. 12-461V
               Petitioner, *                                  Special Master Christian J. Moran
                           *
v.                         *
                           *
SECRETARY OF HEALTH        *                                  Filed: April 21, 2014
AND HUMAN SERVICES,        *
                           *                                  Attorneys’ fees, amount awarded
               Respondent. *                                  to which Respondent does not object.
*************************

                    UNPUBLISHED DECISION ON FEES AND COSTS1

Franklin John Caldwell , Jr., Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner;
Alexis B Babcock, U.S. Department of Justice, Washington, D.C., for Respondent.

       Petitioner Joseph Monteleone filed an application for attorneys’ fees and costs on April
17, 2014. The Court awards the amount to which respondent does not object.

        Petitioner claimed that the trivalent influenza vaccination caused Guillain-Barre
syndrome. See Petition, filed July, 23 2012. Respondent denied that petitioner’s GBS was
caused-in-fact by the influenza vaccination, and denies that the vaccine caused any other injury
or his current condition. However, the parties agreed to an award of damages. Decision, dated
April 8, 2014.

        Petitioner seeks a total of $20,656.41 in attorneys’ fees and costs for petitioner’s counsel.
Additionally, in lieu of filing a statement of costs in compliance with General Order No. 9,
petitioner’s counsel reported in the stipulation of facts that petitioner incurred no reimbursable
costs in pursuit of his claim. Respondent does not object to this application for attorneys’ fees
and costs.


       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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         After reviewing the request, the court awards $20,656.41 in attorneys’ fees and other
litigation costs. A check in this amount shall be made payable to petitioner and his attorney.
The court thanks the parties for their cooperative efforts in resolving this matter.


       The Clerk shall enter judgment accordingly.2

       IT IS SO ORDERED.

                                                   S/ Christian J. Moran
                                             ____________________________
                                                   Christian J. Moran
                                                   Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each party filing
a notice renouncing the right to seek review by a United States Court of Federal Claims judge.


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